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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 18-20685-cr-WILLIAMS/TORRES

   UNITED STATES OF AMERICA,

            Plaintiff,

   v.

   GUSTAVO ADOLFO HERNANDEZ
   FRIERI, et al.,

         Defendants.
   _____________________________________/

         ORDER ON CONDITIONS OF RELEASE AND ELECTRONIC MONITORING

           Upon consideration of Defendant Gustavo Adolfo Hernandez Frieri’s Unopposed Motion

  to Clarify Conditions of Electronic Monitoring, and after a Court hearing regarding same, and

  good cause being shown, it is hereby ORDERED AND ADJUDGED that Defendant’s Motion be

  GRANTED to the extent provided below. Specifically, the conditions of electronic monitoring

  shall include the following:

        1. Defendant may leave his residence to attend meetings or hearings at the Miami federal
           courthouse buildings.
        2. Defendant may leave his residence for the purpose of meeting with his attorneys at the
           offices of Carlton Fields in Miami;
        3. Defendant may leave his residence for regularly scheduled medical and dental
           appointments; and
        4. Defendant may leave his residence on Sundays to attend religious services.
  Pretrial services shall be notified before and after any of the above meetings, appointments or
  events, so that they can properly monitor Defendant’s absence from the residence.


           ORDERED in Chambers in Miami, this 7th day of June, 2019.


                                                 _______¶_________________________________
                                                 JACQUELINE BECERRA
                                                 UNITED STATES MAGISTRATE JUDGE
